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2D09/l        0/15       Mario Piccone                  rnpjcconeciEipecIiatrtistani
4l6-78

From KevinBazinet
Sent       October       15      2009    315     PM

To     Mario         Piccone

Cc     Craig    Leonard           Lauren       Rosen         Mahsbid    Meisami

Sabject        Re       Invoices        and   GST


hello        Mario


     have     the guarantee                   signed      by Jesse          Please     provide           me     with
                                                                                                                        your fax      number




Regards


Kevin         l3azinet

kn4n@3usnhinkmedia.um


780.994.3519                   direct         mobile
780.416.0211                   JTM       reception

780.416.0218                   fax



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           you have                                                                                 noti
it    If                       received          this     e-mail       in   error     please                     us    immediately


2009/10/13               Mario Piccone                  rnpiccnnci@niediatrust                       corn
Ok
As soon          as everything                  is   formaized          well     start    to   invoice           the   new Corp
Mario



Sent       from        my Phone

On 2009-10-13                      at   534          PM      Kevin      Bazinet       kevin@justthmicrnedja.coin                            wrote


            hey Mario




                                                                                                                                                      JTM 06595


                                                                P1 Exhibit             Page 00201
From                                MariQEIccori

To                                  PiMIis     Plecter       F4ahshid       Mnsmi
Ca                                 Keni       Ranpt              Adsrnc


Subject                             RE    Invoics          and   GST

Date                                October-22-09            71532          AM




Thats       fine

Wire       received            today

Thanks

Mario




From         Phyllis         Plester          mailtoDlestercthshaw.caJ
Sent        October            22     2009         1233          AM
To      Mahshid           Melsami
Cc      lvin        Bazinet1             NI    Adams              Mario           Piccone

Subject           RE         Invoices          and         GST
Importance                     High



Hi     Mashid



Unfortunately                  our   Wre        Instructions                show        paying     Invoice  8383       for period        of   October        l2     to     14th   in


The     amount          of     $162837.50                  which          did     not    include    the   Gal                     acknowledge      receipt          of    $4

Therefore               will     show         on      my records                 only    paying    $8141.88                  on    Invoice     8400     if   that    is    A-OK
hope       this   doesnt             mess          you up         your          paper-trail




                    71

Accounng
JESSE          WILLMS        and     companies
Phone                          jlao416.a211           or

                                 1780439      .4801

Fax                             78C4t6.8218           or

                                 TBO989-8223
Cell                           780007-1732
EwI                            ol9SlerSI1wfl

PLEASE         ACKNOWLEDGE                         RECEIPT          OF      THIS        EMAIL




From           Mahshid           Meisarni

Sent        October            20      2009        740 AM
To      Kevin       Bazinet              Phyllis           Plester          NI    Adams
Subject            FW          Invoices         and        GST
Importance                     High



Hi     Kevin




Please       find      the attached                   revised             invoice       for   Octl2-14       09   includes        GST   also     Due date           was on

October16               09
     reversed          nvoice8383

If
     you    have        any questions                      please         let    me know




                                                                                                                                                                                       JIM 06590


                                                                                         P1 Exhibit           Page     00202
Regards

Mahshid

From       Kevin       Bazinet

Sent      Monday             October           19        2009       213      PM
To     Mario       Piccone

Cc     lrosent3rnerJiatrutcom                             Craig        Leonard      Mahshid       Meisami      Jivan   F4anhas

Subject         Re      Invoices              and    GST



Hey Mario


udging          from         where            8383        is   in    our     system          would                       will      receive      the    funds    this
                                                                                                       guess     you

Wednesday


Regards


Kevin         Bazinet

kMni@J.uSttllinknle.ila                            .com



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immediately



2009/1019             Mario Piccone                           tnpicccnw2imediatrust.coin
FR

We     just    received           the        payment           for     8364
Please     advise          on     8381
Thanks

Mario




From      Mario      Picconc           tmaihornniccone@rncdianjst                       corn
Sent     October      19        2009         123     PM
To     Kevin       Baziuct

Cr     hucnrZjirnsdiinnaacug                         Craig        Leonard         Mahshid     Meisami        Jivan    Manhas

Subject        RE    Invoices           and        GST


Thanks


  understand           that       there        are    o/s      invoices       on   your acci
8364          $170373
8383          $162837


When      will      this     be    processed




                                                                                                                                                                         JIM   06591




                                                                                   P1 Exhibit            Page         00203
            thanks
Many
Mario




From        Kevin     Bazinet

Sent    October19             2009           1023     AM
To     Mario     Piccone

Cc      rnsen4lmediawslccm                           Crnig    Leonard          Mahshid      Meisami            Jivan   Marthas




Subject        Re    Invoices           and     OST


Hey     Mario


Payments             will    not be            delayed



  am      very sorry about                      all    of this



Regards


Kevin        Bazinet

kini           iustth       inkcnedipcom



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                                                                                                                                               error        please       noti    us

immediately



2009/tO/IS            Mario Piccone
We     changed          all       of     out accounting                    over
Will      this      delay any                payments
Regards

Mario


Sent      from       Marios              iPhone



On 2009-10-16                      at    540          PM      Kevin           BazinetEevin@jusflhinh1jdiacom                                           wrote


            Hey Guys


               am     very         sony         about        this     but      we    will   just    pay         fiST      You      can    continue          to    bill



            JTM             was         told    to    get     it   all    changed        and       then        minds     over      here    changed




                                                                                                                                                                                 JTM 06592



                                                                                    P1 Exhibit                 Page       00204
Regards


Kevin        Bazinet




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2009/10/16              lrosen@mediatrust.corn
Ok        just   let   me know            when         they       are     sent   so      can      keep         look    out



Lauren



From        Kevin      Bazinet          niailtokxjmjhistflijn-.tcoi1
Sent       Friday      October             2009       1028        AM
To     lrosenithiedjalr.isl              con

Cc     Mario      Piccone        Craig     Leenard              Mahshid     Meisami          .Jivan   Manhas



Subject             Re      Invoices            and        GST


Hey        Lauren


     have    the       lOs     signed          on     my        desk        just      need     to     check     with       Jesse    on         few things
before           fax     the     rest     back




Regards


Kevin        Bazinet

kevifl@jiIstthirkrnedjp.com



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2009/10/15                1msm2.maII.aXnmLiQm
Hi


Ive       ready           changed               the    lOs and            sent    them        over   lor    JIM       to    sign



ilianks

Lauren




From       Mario      Piccone

Sent Thursday                  October          15    2009    419 PM
To Kein l3azinct
Cc Craig Leonard Lauren Rosen                                  Mahshid           Meisaini       Jivan      Maithas

Subject RE Invoices and GST


Hi

  am      fine     with        the    guarantee              and         will    countersign            However              we need         to    get   the    JOs
revised        and    signed              oil    as    well        if    not    done     so    already

Craig       please         let    me know                  where         that    stands

Thanks

Mario




Vrom       Kevin      Bazinet             Inlaiitok                               m4iasm
Sent      October         15     2009      326PM
To     Mario     Piccone

Cc     Craig     Leonard          Lauren             Rosen     Mahsbid           Meisarni


Subject        Re    Invoices             and        GST


           faxed          itto
Ijust                                you




Regards


Kevin       Bazinet

kevi      n@jugth          in    km       ed    ia    con


7g0.994.3519                   direct            mobile
780.416.02U                    JIM         reception

780.416.0218                   fax



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           jpstthnk1Dedam




                                                                                                                                                                       JTM 06594



                                                                          P1 Exhibit                 Page 00206
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2009/10/15            Mario Piccone                    mpiccneit.rnediatnistcon
416-781        0530




From Kevin           Razinet

Sent      Ociober     15    2309 315            PM


To    Mario       Piccone

Cc    Ctuig   Leonard         Lauren          Rosen         Mabshid    Meisanii


Subject       Re     Invoices          and    GST


Hello      Mario


 have       the     guarantee                signed      by    Jesse       Please     provide         me     with     your       fax   number




Regards


Kevin       Bazinet




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                  recipient                                                                                   any

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2009/10/13            Mario Piceone                    mpiccone@mediaui1.com
Ok
As soon        as    everything                is   formalized         well       start   to   invoice         the   new      Corp
Mario



Sent      from      my      Phone


On 2009-10-13                     at   534          PM      Kevin      Bazinet       kevin@ijjstthinkmedia                         corn wrote


           Hey Mario




                                                                                                                                                       JIM 06595



                                                              P1 Exhibit              Page          00207
     think     that    all    works           Starting               next    Monday              you    will      invoice    the


Cyprus corp                  We         are   getting          the      guarantee           drawn up




Farend          Services            Limited

     Athinodorou                  Street      2025         Dasoupoli
Strovolos             Nicoasia Cyprus




an
Regards


Kevin




780.994.3519

781Th
               Bazinet




             16.0211
                              direct

                              JTM
                                              mobile
                                          reception

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distribute            or take           any   action           in reliance           on     it    If   you have        received

this    c-mail          in    error        please         notitjt        us immediately



2009/10/13               Mario Piccone                    rnpiccppe@rnediatrustcom
Please        drafi     accordingly              and      Ill        review

Also         regarding            the    tos        have         instructed           Craig       to    add    the   Cyprus        coip

to    the    exist     and        any    new     l0s moving                       forward

Please        provide         the       name of          the    Cyprus             Corp

Unfortunately                 we        cannot      go    back         and        change      any      invoices      but    will    not


charge         the    gst     for   any       new    invoices            moving            forward

Thanks
Mario




Vrom         Kevin     Uazinct          Imaiftoindusflhiaknithianh
Sent        October      13       2009 512       PM


To      Mario Piccone
Cc      Craig         Leonard             Lauren           Rosen             Malishid            Meisami

Subject               Re     Invoices          and       GST


Hey         Mario


Let us         know          if
                                  you need          us     to        draft    the    corporate           guarantee          or   if   you




                                                                                                                                            JIM 06596



                                                         P1 Exhibit                   Page             00208
are




Regards


Kevin         l3azinet


kcvin@jus.Ubinkrnedia.corn



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2009/10113                Mario Piccone                          cingicconefmethatzusLcnni
Just   out      of    cLiriosity               what        filing       period            are     you on              with    the       CRA
Sounds         like       semi-annual                       You        can    voluntarily                      change        you       filing      period

to    monthly          and           this    would          cut    down           your wailing                       time    to    less      than       30


days      afler      filing           if
                                            you    file     online                  may         be    telling           you       something              you

already        know                  just    my      thoughts
Mario




From         Kevin     Razinet

Sent      October         13         2009     457       PM
To     Mario       Piccone

Cc     Craig    Leonard               Lauren        Rosen         Mahahid               Meisarni




Subject        Re      Incoices             and    1ST



Hey Mario


              Is     the       sole         purpose          of    doing           this      not          to    pay     gst       or    is   it       cash

flow      issue       or        is    it    administrative

We      have         multiple networks                            in    Canada               so      as    you can            imagine              we
have           lot    of       GST           being         held        by    the        government                      We        have       to    wait

months          to    get        this        money           back           and         we      get       no     benefit          from          the


government                 holding                our     money


             lIthe         answer to 4I                     is    not    to    pay gst                you do            get       to    claim         back

the    gst

We know               but       we          have      to    wait             months




                                                                                                                                                               JTM 06597



                                                                 P1 Exhibit                       Page               00209
             If   we were                 to   go with             the        Cyrus            corp we              would      have        to

ensure        there       is   no         credit        risk


Will     guarantee              the cyprus                   Corp         with            our canadian                 corp



             If   we     are     to        invoice           the        Cyprus corp                      all    10s would             have            to    be

redone
Not     really           problem                  for      us



Regards


Kevin        Bazinet




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sywwiiithinkmediacoin




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this    e-mail          in     error            please          noti            us immediately



2009/10/13              Mario              Piccone              mpone@meditruatom
Hi


  have            few    questions/issues                         to     ask




                                    Is    the     sole                          of doing               this not        to    pay           or    is    it
                                                             purpose                                                                gst

                        cash        flow         issue       or    is    it    adminislrativc



                                If       the     inswer           10           is        not    to     pay     gst     you do       get    to    claim

                        back         the       gsl


                                iwc              were        to    go    with            the     Cyrus         corp     we would            have            to


                        ensure            there       is   no      credit       risk




                                lfwe            are     to    invoice           the           Cyprus         corp      all    10s     would

                        have         to    be     redone




Please       respond           to        these                                and        ft   will     help     lead    us    in    the    right
                                                   questions

                    For                                       continue                                   and                         should           be
direction                      now we                 will                           as        usual                payments
made according                   to       schedule



Many         thanks




                                                                                                                                                                 JTM 06598




                                                           P1 Exhibit                           Page 00210
  ado




From         Kevin         Bazinet      rmaitokcvintkiucuhinkmediacoml

Stnt     October13               2009     1210PM
To     Craig     Leonard

Cc     Lauren        Rosen         Mario      Piccone

Subject         Re-    Invoices         and    OST



Hey     Cniig


Can     you change                    invoice         8351     for    us We         really    dont want         to    be


paying          anymore               GST      out


Regards


Kevin         Bazinet

kvirniusnhinkrurdia.csnn



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                                       any                                                    you
this    e-mail             in    error     please        notify       us immediately



2009/1012                  Craig        Leonard          cktmnrdiamesliatzuslsom

Yep       we         can        invoice       this     corp        Kevin




On     Mon            Oct        12    2009      at     648        PM      Kevin    Bazinet

kcvlm22linathinlmedsciun                                           wrote

Hey      Craig


Sorry        about          that       Can     you      invoice        our    Cyprus corp


Farend          Services              Limited

  Athinodoiou                     Street       2025          Dasoupoli
Strovolos              Nicoasia Cyprus




Regards




                                                                                                                                JTM 06599




                                                      P1 Exhibit                          00211
                                                                               Page
Kevin         Bazinet




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                            error        please           notify             immediately


2009/10112             Craig        Leonard               cc1eon@1nethatrLt.eQn-



      Do you         have       US corp               We         can    invoice        to    that       if   you want




      On Moo           Oct        12     2009        at    1028        AM Kevin                   Bazinet

      1cYn@j1Sin1c1ne4iLiun                                            wrote

      I-fey   Craig




      We      are    having             lot    of    issues        with      GST       on your           invoices           and      the

      Canadian         government                   Ask                  accounts            if   there      is
                                                                                                                     way        of
                                                              your

      billing       another        corporation               of ours         US        corp        so    you       are    not


      submitting           an     invoice           with     1ST



      Regards


      Kevin         Bazinet




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          intcnia      Virus    Database          is    out of date




          Checked       by   AVG          blipLLinyjaasr.cout

          Version       8.0.175          Virus    Database       270.9   .0/1776         Release   Date        11/8/2008      649 PM




          InterrnI     Virus    Database          is    out of date

          CheckS        by   AVG          lilt         /vwv    vcgm
          Version       8.0.175/         Virus    Database       2709.0/1776             Release   Date        11/8/2008      649PM




No   virus    found     in   this      incoming          message
Checked        by     AVG       .avg.com
Vefsion      9.0733            Virus     Database             2711.112716               Release.Date           03/01/10       003400




                                                                                                                                                JTM   06601




                                                                         P1 Exhibit                Page        00213
From                                  titeaEon
To                                    Kevin      BazIn

Subject                               RE      udreeads      cornplaIn

Date                                  Octcbef-19-09           94803     MI




Hi   Kevin




That       is    an     affiliate          of   Advaliant         httn//www.valtrk.coniurlltrack.aspx


adid2202Ipuid                                    affid            836subidl               63jfi




Th     nks

Steve




     LII         neverblue

     Steven              Fasten
     Nwor              Ieneger



     EmaiIMSN               sieven.e            qpneverhIue           toni


     Phone            250    386-53Z            .269
     Cell       250416-5572
     Fax    604         877-5441

     AIMVa$oo               weverbtesteven




From             Kevin        Bazinet           mailtokevin@justthinlmiediarnmj
Sent            October          17        2009       337 PM
Subject                usfreeads              ajmplaints



Hello


The        link        below          is    cause           lot   of customer            service       complaints    It   is
                                                                                                                               really    pushing      the   FREE
angle
htto//www.usfreeads.cpm/2065402-cls.hlnil



If   this        is
                       your      affiliate            can     you     get    them   to    at   least    add   somewhere        that     you   just   pay shipping
At    lea.st          something                 to   reduce       complaints




Thanks


Regards


Kevin            Bazinet

kevinjustthinkniedth                                   corn



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                                                                                                                                                                JTM   06901



                                                                                P1 Exhibit               Page 00214
78L4160218                         fax



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                                                                                                                                                                                                                                          JTM 06902

                                                                                            P1 Exhibit                        Page           00215
From                             Michael        Sons

To                               cevin        Bazinet


Subject                          RE      usfreeads         complain

Date                             October-19-09             85809         Ml




Hey Kevin



The     affiliate       is   running             the      offer     through       advalient            just    in   case     you    were wondering



Thanks         hI




Mike        Sorisi           Intermark                  Media

IM     Michaelsatimk             AIM
PJ 631              719 -1250         ext        3269




From           Kevin     Bazinet

Sent        Saturday          October                17     2009         637 PM
Subjecb              usfreeads           omplaints



Hello


The      link        below       is   cause                lot    of customer              service        complaints               It   is
                                                                                                                                              really    pushing          the   FREE
angle

htpwww.usfreeanm/2065402-c1s.html


If   this      is            affiliate             can        you    get       them   to    at    least       add     somewhere               that     you              pay shipping
                     your                                                                                                                                    just

At     least        something              to     reduce          complaints




Thanks


Regards


Kevin          Bazinet

kevin@jusnhinkmedia.com


780.994.3519                 direct             mobile
730.416.0211                 JTM              reception

780.416.0218                 fax



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                                                                                 P1 Exhibit                   Page 00216
Fmm                              Ryan      Snph

To                               Kevrn     Bear-st


Cc
Subject                          RE      Irworces    and     GST

Date                             October-15-09             74522     AN




Hey Kevin


     have     some good             news            We     can     use    your   European      Office    address    below     srnrting    with   this   weeks
invoice




Regards

Ryan




Ryan      Slngh


peMsor             Accounts      leceivabIe



Epfc    Advertising       Inc       New     York     Tcwnto         San   Francisco   London

weEccAdyertingmni
60     Columbia                        310
                    Way       Suile


Markham           ON
L3R     009

905 946-O3             x2379          work

          666-3120
888                       fax



tyaaSgh@.epkadcmn
AIM      ryaisazoogle




From          Kevin     Bazinet

Sent         Monday           October          12     2009         410    PM
To Ryan Singh
Cc Thomas DeLuca
Subject Re invoices                           and    GST



Hey Ryan

Can                                                                   November                    Monday
          you switch             over         sooner         than                        Next




Regards


Kevin         Bazinet

kevin@justlhinkmediacom


780.994.3519                  direct          mobile
780.416.0211                  JTM         reception

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      2009/        10/12        Kevin       Bazinet           Ic3ajmjullhjnkmesJjQJn
      Hey     Ryan


      November               should         be     fine




      Regards


      Kevin         Bazinet

      kevinr2iusfflujn1cinedjacnm



      780.994.3519                 direct         mobile
      780.416.0211                JTM            reception

      780.416.0218                 fax



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                                                                                                           error please noti                                                    us

      immediately




      2009/10/12             Ryan         Singh         ryarisjnghepjcadvcrtisjjjgcorn
      Hey     Kevin


      Could        we   start     this    from     November           billing     since   we     already     billed
                                                                                                                      you   some         activity
                                                                                                                                                       in   October


      Thanks

      Ryan




      From          Kevin       Bazinet

      Sent         Monday          October         12     2009    1110          AM
      To      Ryan      Singh

      Cc     Thomas          DeLuca

      Subject           Re       Invoices         and    GST



      Hey      Ryan


      This     is    the    corp         you can         invoice            was      initially   told       US     corp     but    we        are    going        with   our

      European              corp     Let         me know         if this        causes    any    issues




                                                                                                                                                                                JTM 07919



                                                                                P1 Exhibit              Page      00218
Farend         Services           Limited

     Athinodorou              Street         2025         Dasoupoli
Strovolos             Nicoasia              Cyprus




Regards


Kevin         Bazinet

kevin@Justthinkrnedia.com



780.994.3519                direct          mobile
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780.416.0218                fax




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                                                                                                                                          error     please      noli5t     us

immediately



2009/10/12              Ryan       Singh

Hey     Kevin


If
     you     can    provide       rue      with    your        US     Operation     address       we   can    change       it
                                                                                                                                in    our    system


Ryan




From          Thomas        DeLuca
Sent         Nlonday        October          12      2009       1035      AM
To     Ryan        Singh      Kevin         Bazinet

Subject            FW      Invoices         and      GS1


Ryan



Please        see     belowfrom              Kevin        at   lust    Think      Media     Can   you help out with this




Thanks
TD



646        943-7163


thomas.deIucaaeprcadsconi




From          Kevin     Bazinet

Sent         Flonday        October          12      2009       1029AM
To     Thomas DeLuca
Subject            Invoices       and       13Sf




                                                                                                                                                                           JTM 07926



                                                                           P1 Exhibit             Page       00219
i-Icy     Thomas



We       are     having             lot        of    issues       with       GST    on    your     invoices       and    the   Canadian          government                  Ask

your       accounts          if    there            is
                                                            way of       billing        another     corporation         of ours      US       corp         so    you   are not

submitting              an   invoice                with        GST



Regards


Kevin            Bazinet

kevin@justthinkrnedia.com



780.9943519                  direct             mobile
780.4           16.0211      JTM               reception

780.4l6M21g                  fax




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immediately




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Version           9fl733           Virus         Database              271.1112716           Release     Date      03/01/10         003400




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                                                                                  P1 Exhibit           Page       00220
Fram                        Cram     Leopard

To                          idiesseayahoo.cpi

Cc                          nierchantrnanh1ivahoocpm


Subject                     FW      JTM    Creative

Date                        Friday          23 2009
                                      January                      123745   PM

Attachments                 Colon     CIeansQtive               fnfodoc

                            ASBorn         Creative     Ipfo.doc

                            fl_CIeatlVe               Infadoc

                                          CrUve       Tnfodq

Importhnce                  High




From      Lauren       Rosen

Sent      Friday      lanuary         23       2009      1224 PM
To     Craig    Leonard

Subject         JTM    Creative

Importance             High




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Checked        by   AVG            www.avg.com
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                                                                                                        JTM    CD4   JESSE   EMAILS   000001




                                                                            P1 Exhibit   Page 00221
AcaiBurn


From Liues
Detoxif3      Your Body

Body    Detoxification

Free   14    Day Thai
Aesi Berry Free        Trial

Acai Weight       Loss



$jject Lincs
Acai Super       Food Diet

Lose Weight        and Get Healthy           Fast

Aeai Berry Super           Food

Celebrities     Love    the    Acai    Berry
Kick-Start      Your Weight           Loss

You Wont         Believe      the Latest     Buzz   in


Hollywood
Aeai Berry Antioxidant             Power      Available

Now
Feel        Gripping   Urgency        to   Lose Weight
Fast


Email Creatives




                                                                             JTMCD4_JESSE_EMALS0000O2




                                                     P1 Exhibit   Page   00222
 -i




Co
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iCo




Co
                          JIM   CD4JESSEEMAILS_000004




P1 Exhibit   Page 00224
Are You Heavy or Heathf
   Lose



          one      of the     most       nutritious

          powerful foods               in   the   worWr

MLauer


                                                  JustpayrorsFpIng




                                    JTMCD4JESSE_EMALS_O0O0O5




          P1 Exhibit   Page 00225
CoLon     Cleanse



From Lines


Celebrity    Cleanse           Detox

Celebrity    Cleanse

Celeb     Cleanse

Colon Detox

Colon Clean
Be Slim
Remove      Excess        Weight
Flatter   Tummy
Flatten   your Tummy

Tighten     your    Tummy

Subject     Lines
Cleanse          Lose Weight              Detox
Lose Weight         Quickly        and Naturally

Cleanse     Your System                  Get Shin

Detoxify     while        you Lose Weight               Quickly
Next generation           in   Weight        Loss and Natural             Cleansing
cleanse your        system

cleanse your        colon

live    healthier       cleanse your         system

live    longer     cleanse your           system
live    longer     clean your          colon

Possibly the most effective                  colon       cleanser    in
                                                                          history

Colon Cleanse              No    Prior     Prescription          Necessary
Colon Cleanse Get                the    Body You Deserve
Colon Cleanse             Now     Available         Without          Prescription

Americas Strongest               Colon Cleanser


Creatiyes




Cleanse     Excess        Waste


Flush     Tons of Excess           Weight         for     Flatter    Stomach



Finally    fit   into   your favorite            jeans


BTW... you          can    try   our     trial   today



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                                                            P1 Exhibit        Page    00226
http//www.purec1eansepro.com/unsubsCribe_news1etter.php



Or write   to   us at



Pure   Cleanse    Pro

3600 Army Post Road
Des    Moines IA 50321




                                                           You can           rid
                                                                                   your
                                                           body         of   waste and
                                                           kse weight fast




                                                                    JTMCD4JESSEEMAILS000007




                                              P1 Exhibit   Page 00227
               You can          rid   your
               body of waste and
               lose weight fast




                cc2c
Ycut Cteaner 1eather Body Awaits



Drop     your      dead weight fast
Look    like       Hollywood starlet




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  P1 Exhibit    Page   00228
Google


From Lines
Google        Business

Passive         Google        Profits

Make Money               Online

Online        Business

List   Name
Easy Google             Profit


Easy     Profit

EGP


Subject         Lines
Let    Google         Make You Money While You                                  Sleep

Easy To Do Online           Business For You

Make New-Age Money Online                                    with     Google
Make Money Online Today
Simple Online                Business           Makes         Money         Fast

Simple Google                 Strategy          to   Put Cash in Your Pockets

Moms       wanted-            make money               online        part    time hours

Moms       needed            to    work       from home             10 hrs      week           great    income

Easy Money with Google
Make Easy Money working                               with     Google
Profit    with        Google
Put    money          into    your       bank account               with    Money from Google
Worlthg          from        Home         Profiting          with    Google        is   this   Easy
Google          Business                Work     from        Home     and      Profit


Turnkey system                    profits      for   you 24/7
Turnkey system                    profits      for   you while           you   sleep

Run Your Own                      Business       From Home and                  Profit    with       Google


Test/Banner              Creatives




Ifs
       easy     to    make         up    to   $900    or     more per day
Just   use      your     computer and                 fill   out forms and you                 can     earn cash



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Google          can    help you           make money                quickly     and      easily      so you never    have    to   work   from an
office    again


Dont      let    this    opportunity             pass        you    by


http//www.valtrk.com/url/track.aspxadidz1                                           960affid77subid0




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                                                                      P1 Exhibit           Page 00229
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Or    if   you prefer you can   write     to   us at



Google       Cash

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Des Moines IA 50321




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                                C__%etstaried
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      You May Be     Abeto Make
                EASYMONEVI
               Get started today                         rQ.t




                                                                              JTM_CD4JESSE   EMAILS   000010




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YOU.k                                   11



EASY MONEYS
Get   started   tcday




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                                    P1 Exhibit    Page   00233
NDt   Typical




                                      JIM   0D4   JESSE   EMAILS   000014




                P1 Exhibit   Page 00234
Grants


From Lines
Re    Your Funds
                 Vacation
Money      to

Your    Money
Your money             is   ready

Your money             to   claim

Available        in            area
                       your

Money      for    your       area

Do    you need         money
Get    finding        for    school

Get    finding        to    start   business

Get    medical         Thnding

Get heaJthcare finding

Money for your bills
Gov Funding Directory
Gov Money             Directory

Grant    yourself           money
Your government money
DO YOU NEED MONEY
MONEY FOR HEALTHCARE
Approval         for    your     money
REALTHCARE                    MONEY
American         Gov Money


Subject         Lines
Government             Grants       Now
US     Citizen        Grants

US     citizen    Money          Available

Get    Funding Fast
Government             Funding Available
Get Money Fast

Money When You Need                        It   Most

Gov Grant Funding
Grant     Funding
New Way           To Get Money

Fast                                                   for    citizens   Funding
         government grant money


Text/banner                Creative


Need Money The Government                               Can help


You may          qualify       for   government          grant     flmding   let    us show    you how    to   apply
Grants are        available          for   people      like   you who want to




                                                                                              JTM   CD4   JESSE    EMAILS   0000-15




                                                               P1 Exhibit    Page    00235
http//www.valtxk.comlurlftrack.aspxadi4                                    959affith77subidO


Set up or expand                  business

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Pay    their    bills


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assistance



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               CLICK      HERE           Th
                                                        2aa




                                                                                                 JiM     CD4     JESSE      EMAI LS   000016




                                                               P1 Exhibit       Page     00236
Email Creative




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P1 Exhibit   Page   00238
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                        JTM   CD4   JESSE   EMAILS   000019




P1 Exhibit   Page   00239
From                                Craig   Leonard

To                                idisseithvahoo.cnn1

Subject                             RE      AI   Berry    Vs    Wu      Yl   Tea

Date                                Wednesday         July    30     2008     103232AM




Ultra     is    still
                         doing well                expanding                       UK   now


 stumbled                upon       this    site         it   maybe           useful      to    you   in   sourcing        product




http/www.tradekey.com



Craig




From           Jesse       Wilims

Sent       Wednesday                   July      30      2008        1021 AM
Tot Craig            Leonard

Subject              RE      Acal     Berry        Vs Wu           Yl   Tea



Sales are               still   good         they do           ok volume not great




  want          to         powder           offer        like      ultra       lean      are    they       still   doing    well Were    still   just   finding

supplier             we     got          few good leads                      jsut       takes     while



jesse




      On        Wed             7/30/08            Craig Leonard                        cleoszard@advaliant.com                      wrote


     From            Craig Leonard cleonard@advaliant.com

     Subject             RE       Acai        Berry           Vs Wu            Yi Tea
     To        jdjesseyaEoo.com
     Date Wednesday                           July       30 2008 713                      AM

     Cool



     How        are      sales        Is    Hydra        cranking            easyweight



     What        else      can      we      do     together



     Craig




     From            Jesse      Whims
     Sent         Wednesday                 July      30      2008       1007 AM
     To        Craig Leonard

     Subject              Re      Acai      Berry     Vs Wu             Vi   Tea



               bI On         it




                                                                                                                               JIM   CD4JESSEEMAILS_000020




                                                                                        P1 Exhibit            Page 00240
 Acaibum.com




 Is   our   new     site should        be   ready    soon




        On   Wed      7/30/08        Craig Leonard            c1eonardyzdvuhiant          coin wrote


      From      Craig Leonard           eleonard@advaliant.com
      Subject       Acai Berry        Vs    Wu      Yi Tea

      To    jd.jesseyahoo.eom
      Date Wednesday                July    30   200    705     AM

      You    watchhig       the    Acai     Berry    trend



      httpillwww.google.corn/trends

      gacai4berry%2Cwuviteactabff0geoaUdateralltsoyt0




No    virus found    in   this   incoming    message
Checked      by   AVG       wavgcom
Version      9.0.733/Virus         Database      2711.1/2650        Release   Date   01/27/10   123600




                                                                                         JTMCD4_JESSEEMAILSU00021




                                                             P1 Exhibit   Page   00241
From                         lnwaIlareianfl3ail.rom                  on    behalf   of DaneI    McSwalnWallre

Tol                          Crakl    Leonard


Cc                           r1.lpprvahoo.com              2amgsL
Subject                      Re      rnerthant    acunts

Date                         Thursday       February     26   2009    24l21 PM




Hi     Craig    and Jesse


Jesse      Irve       worked              on some          of your              campaigns           as an           affiliate     and     wve          met twice
most      recently           in   the hallway                 at   ASW          Vegas when                the       line    to   sign    in    was super              long
and     you     were checking                         Facebook             Ads

     told Craig        that          my    business            partner              James CCd                  on    this     email       and         would           be

happy      to
         put you                      in   touch         with             recommended                    load       balancing          consulting           company
with deep processing                            connections                    In    exchange            it    would        mean           lot   to    us     if   you
could     talk             bit    about          your experiences                     with       Litle    and        Co     as    we     are     considering

processing            with        them            Additionally                  wed       be interested               in    your analysis of the
competendes of Jim Gray and Randy OConnell                                                           after you              have to Chance to speak
with them about their operation



We      are currently                in    the        process of deciding                      whether          to    move        forward         with        Litle    or

potentially           work        with       OConnell                Gray           Any        insights        you    may        have     for us       as     to

whether          it   is    possible             to    operate            in   the    affiliate      model           rebill      space     with       Litle    and Co
as     your     sole processor                    would        be great


Here      is   the     contact             information               for OTConnelI                Gray         LLC



  Randy OConnel                      and         Jim Gray


                  Randy Oconnell

                                  Office          Number           775-852-8833


                                  Cell      Number            775-335-5322


                                  Email          Randv@oconnllray.com

                  Jim Gray


                                  Office          Number             775-852-8833


                                  Cell      Number             775-335-5323


                                  Jimocpnnellgrav.com



They charge                      transaction-based                        fee       for   use    of their        connections               load       balancing

 help     and     extensive                CRM

 James and                  would          both        be open             to        phone       call     if   necessary           to    compare            notes        and

 get any        advice            you      may have



                                                                                                                       JIM        CD4     JESSE         EMAILS             000022




                                                                               P1 Exhibit          Page 00242
Best


Daniel




On Thu          Feb        26    2009    at     1255     PM    Craig   Leonard      cleonarthdyaiipnLcom
wrote


     Hi   Daniel




     Could you          please       send      Jesse the contact        info for the load           balanCing   merchant

     company          in     Nevada            and   also your rationale         for short-listing      them    And   hell

     share with            you   his   knowledge         of   them and Utle




     Regards


     Craig




Daniel        Wallace

Managing            Director

Hungry         Fish        Media LLC


Cell          1727               251-2711
Office        485 Massachusetts Avenue
              Cambridge MA 02138




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                                                                                             JTMCD4JESSE_EMAILS_000023




                                                               P1 Exhibit    Page    00243
From                          jgjeonard

To                            jdieeThvahnocem

Subject                       ECTL     News    Story    claims

Date                          Wednesday         February         11   20cC    12SIaS PM




httn/Iwww.ktfa.com/videnL2utoStarttruetooVideoCatNodefauItclipld317i6PL


                                                        outlines                            diet
             Talking     person on             site                         scams      in          industry          therefore seeming                legit


             Customer          interviewed              claims         that         she did     not know           she was signing            up for multiple

             products                and    believes        that       is    unethical


                                number            of    complaints                   hundreds        to    Better        Business Bureau            of    South
             significant

             Ontario          California          headquarters                 is     fulfillment          center         managers          are   actually      in   Canada

             Tried     number          to     contact       talking           person        direct    1-877-417-4141                              dozen    times over two

             days1nothing                     buta      busy signal

             Fine    print     on     first    page        reporter           did     not show        terms         on     credit    card    page        does     inform that

             customer           is
                                      signing      up    for      multiple           offers     with one           shot

             Once      signed         up though             it    requires          canceling        with three separate                    companies           and

             customer           does        not   find that           out     until    they are           billed



             They     claim      that       you      can    then cancel               only but not get refunded




No   virus    found      in    this    incoming            message
Checked        by    AVG             www.avgcorfl
Version       9.0.733/Virus                 Database              271.1112650                 Release        Date         01127/10     123600




                                                                                                                              JTM      004        JESSE_EMAILS000024




                                                                                    P1 Exhibit            Page 00244
                                                                                                                          .-   r..          nw




Fmm                     Daniel    SuiThn

To                      CLEANThIS          RCUSSAKIS

Cc                      flas.11adroannou-                 Jesse   WUims

Subject                 Wires       Farend    Services


Date                     Monday      August     172009          15526     AM




Dear Cleanthis


We      are expecting                wire from Paygea                          to    arrive    at Laiki    Bank     for   Farend     Services

today      in   the    amount          of     $1610878.10                           After this       wire credits    to     our   account        please
make      the following             transfers              from         Farend        Services



       Advaliant        $126265.13                       for    invoice         8079


          Account        Name           AdvaUant                  Inc
          Account
          Bank        Name          Citibank

          Bank        Address          339 Park                Avenue           New        York NY 10022
          Bank        Routing



       Epic Advertising                $336451.51                     for      invoice      120002616


          Account        Name              Epic Advertising                     Inc
          Account
          Bank        Name RBC                Royal            Bank
          Bank        Address          260 East Beaver                         Creek Road            Richmond        Hill      ON L4B3M3
          SWIFf
          Transit
          INTERMEDIARY                          BANK
          JP    Morgan           Chase NY
          ABA
       eAdvertising              $46830             for        invoice         7297


          Account         Name             LeadCflck              Media             Inc
          Account
           Bank       Name The                Mechanics                 Bank
           Bank       Address          343 Sansorne                       Street          Suite   100 San       Francisco         CA 94104
           Bank       Routing


       IntegreClick/Ctickbooth                            $210002.50                 for   invoice     3LO8IO09WYS

          Account         Name               IntegraClick                 Inc
           Account
           Bank       Name          Bank        of America

           Bank       Address           304 West                  Venice        Avenue            Venice   FL   34285
           Bank       Routing


       Intermark        Media           $155862.50                      for    invoice        0016229-IN


           Account        Name               Intermark             Media

           Account
           Bank       Name          Signature                  Bank



                                                                                                              JTMCD4JESSEEMAiLS_OOOO25




                                                                          21   Exhibit        Page    00245
               Bank         Address           279 Sunrise        Highway     Rockvflle    Centre        NY 11570
               Bank         Routing


Thanks

Dan




Dsni      .3   Suiiivao

Chief    Fjn3ncfaI        Officer

                          oment.com




No      virus        found      in   this   incoming   message
Checked              by    AVG        www.avg.com
Version              9.0333/         Virus Database       271t1/2650        Release   Date   01/27/10    123600




                                                                                                 JTM    CD4   JESSE   EMAILS   000026




                                                                   PT   Exhibit   Page   00246
From                          1esc      WIIInis


To                            ose          Seti        Freiman


Subject                       RE     Jesse/Sefi


Date                          Sawrday             September          2009   11301    PM




thanks              really     want               to    get something                going    asap         tell    me what             need     to   do to get

things        going


esse

       On     Fri7     9/25/09                         ioseph         Sefi           Freiman         -cjoseph@ cxdigitaL                       coin      wrote



  From          Joseph           Se19               Freiman           joseph@cxdigital.com
  Subject RE Jesse/SeN
  To Jesse WhIms jd.jesse@yahoo.com
  Date Friday September 25 2009 207 PM



     Thanks     for    the    info       we        are   off     Monday     Jewish        hoilday     wIH       connect       with   you   early next

     week     and     lets   figure        out      what       do   we want     to   push    and    how    to     get   momentum..



     Have       good         weekend




     Joseph      Sefi Freiman


     VP     Business          Development


     CX     Digital    IViedia        Inc

     Direct     416-260-4422



     Toll    Free t866.982.9764                          x4422



     Mobile      416-993-1300


     Eax       830.887.9997



     Josephcxdipitai.com


     www.cxdjciital.com



     Aim      josephfreiman




     From       Jesse        WHIms
     Sent      Thursday            September                  24    2009    110 PM
     To     Joseph      Sell FreEman
     Subject          Jesse




                                                                                                                        JTM      CD4       JESSE     EMAILS   000027




                                                                              P1 Exhibit            Page    00247
Hi



Great talking          to   you




Here is what were                   to    lately    we    are seeing         huge grawth              ever since        we
                  up
added dees backend




This   is   our current       sales per         day    on weekdays            approx


4000-5000            Dazzlesmilepro.com                saes


2000        Acaiforcemax.com              male      acai


We     do about        500        day     through      our female       acai       offers      this   vertical        has
shrunk         lot     but   we    feel    we   can     really   do     ton        of   volume    here         with   our    new
offers




Google       about          1000          day we       just started         this    vertical    but      its   growing
huge

Grants       300       day    small but growing




Resv     300         day


Colon 300            day


Other       500      day




Where     see the most potential is female acai colon very                                        plain     simple offer
ecigerettes   and our google offer With Deets backend   will                                      kill    these go
forward




Lets    talk   rater    today hope          this      helps   give    you          picture     of our      company




Thanks


Jess



                                                                                             JTMCD4            JESSE        EMAI LS000028




                                                        P1 Exhibit      Page        00248
                                                                                    .w




No   virus   found     in   this   incoming   message
Checked      by   AVG         www.avg.com
Version      9.0.733        Virus    Database   271.11/2650     Release   Date   01/27110   123600




                                                                                     JTM    CD4   JESSE   EMAILS   000029




                                                         P1 Exhibit   Page 00249
From                             Jesse      Wiflms

Tot                              Jtistln    DAnneo

Subject                          RE       Faxed     agreement

Date                             Monday           December       21    200   100025   AM




1021018               Alberta              Ltd


        On      Mon             12/21/09                     Justin          DAngeto              justin@roirevolution.com wrote



      From           Justin          DAngeo                 justin@roirevoIution.com
      Subject RE Faxed                               agreement
      To Jesse WhIms                                 cjd.jesse@yahoo.com
      Date        Monday December                                    21 2009          621 AM



      Jesse




      Let     me know           the       official     company name                when you        get        chance      Timothy       wants    to   till   out

      the                            with     all    of     the info on          the form send         it   over to     you    and    then you    can        sign
              agreement

      and     initial     the    new version                    He    said   we cant       even    start     working     on    building    anything          out

      until    the      full   agreement               is   put together           Sorry    if   its        pain   we   have    aEl   these stricter rules

      when      it    comes          to    these types               of things    now




      Anyway            talk    to    you     soon




      --Justin        DAngefo


      AOl Revolution



      Relationship                   Strategy          Manager


                      AdWords              certified            Professional




      919954-5955                    x310




      From           Jesse      WilIms

      Sent        Friday         December              18 2009           310 PM
      To      Justin       DAngelo

      Subject             RE     Faxed agreement




       Getting           websites

                                                                                                                         JTM_CD4JESSEEMALS.000030




                                                                                  P1 Exhibit           Page    00250
85 Cranford              Way

204

Sherwood            Park AB

Canada




So    just       make           new        account             then        youll          try   to     get        payment terms


Jesse


      On Thu             12/17/09                     Justin           DAngelo                  cjustin@rokevolution.com
wrote



  From           Justin     DAngelo                  cjustinroirevolution.com
  Subject           RE      Faxed              agreement
  To        Jesse         W1IFn-is       jd.jesse@yahoo.com
  Date Thursday                       December 17 2009 1247                                          PM

  Jesse




  old accounts            have       an    associated           history          with     them        and        if   Google       decides            to   go

  back      and    ban    that       account          for things          like    deceptive          billing          practices         it   shuts         down

  our current            efforts      This       happened            to       client      of    ours    last          week   who         had          deleted


  campaignfrom 2005                       in   his    account          Its       much      betterto          start fresh               with       new

  account           think       we    can       probably         get      credit    for         new     account              as    its       based         on

  the payment             history         of   your company                  and    your payment                      history     is   good     with

  Google




We    also       dont have         access        to that       old     account          anymore          Timothy             unlinked           all    accounts

from       our   MCC     that    werent              clients    anymore




You    can just email            the info over                 think       that    will    be fine          If        hear any          different          Ill   let   you

know




--Justin     DAngelo


WI     Revolution




Relationship              Strategy         Manager

                                                                                                                         JTMCD4_JESSE                             EMAILS     00003




                                                                       P1 Exhibit               Page 00251
             Ad Words Certified          Professional



919-954-5955           x310




From    Jesse        WHims

Sent    Thursday          December       17 2009    342 PM
To   JustinDAngeo

Subject       Re       Faxed agreement




Can       just email          this   over Also Can we use                 existing           account         isnt   it   still        on
30 day       terms with          google

Jesse


     On      Thu 12/17/Og                   DAngelo           Justin      cjustin@roirevolution.com
wrote



From DAngelo                   Justiri    cjustinro
Subject         Faxed
             agreement
To Jesse Wilims jd.jesse@yahoo.com
Date Thursday December 17 2009 1237                                       PM

Jesse




Lindsay        in    sales just buzzed         me     and     said     thatwe       just got just one                fax from

you     but     it     only    had       checkmark          and your     name           on    it




Can you         fill    out   the rest of the        info    new       address  office phone                        company
name      for       billing    and    the website           URL        Well need one for each                       site




Also      who        do   we    contact     about     bifling    for   the    initial        refundable       setup        fee         as

well    as    ongoing




Once      thats done            we    can   start    building     out campaigns                    for you    and    get         it




90k19




 Can you        also      create         new Ad Words           accounts       and       email       over either the                  login



                                                                                                   JTMCD4JESSEEMAI                          L3000032




                                                        P1 Exhibit        Page      00252
 info or the            Customer           ID     numbers




 Thanks




  --Justin         DTAngelo


  ROT        Revolution



  Relationship                  Strategy        Mahager

                   AdWords            Certified
                                                   Professional


  919-954-5955                 x310




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Version       aO.733        IVirus    Database     271.1.12650    Release   Date   01/27/10   123600




                                                                                       JTM    CD4   JESSE   EMAILS   000033




                                                          P1 Exhibit   Page   00253
From                                Jesse      Whims

To                                  Phyllis     Plester



Subject                             Re        EW    Addiusnal          to    Dan
Date                                Friday         December        18       2009    102551         AM




Phyllis



Was          this        just            missed            invoice                 or   what was the whole                            issue


esse

          On        Thu 12/17/09                                  Phyllis               Plester             cplester@shaw.ca                                 wrote



     From                              Plester             plestershaw.ca
  Subject
                        Phyllis

                             FW        Additional                 to         Dan
  To     Jesse Wilims jd.jesse@yahoo.com
     Date Thprsday December 17 2009 1001                                                                           PM


     FYI




     From               Phyllis    Plester

     Sent            December             17 2009               1100 PM
     To       Curtis

     Subject                RE     Additional             to    Dan
     Importance                     High




          think      you are under                 toooooooo                 much presure                  to   come up        with     instant       answers        We    have
     to    check          and      double-check                  six    ways         and      please        always communicate                 with    me     BEFORE         you
     give         out     any     $s     to   Jesse        in    future             We     have      to    be    very    careful      with    everything      we    submit    to

     Dan          for    several       reasons                 First        and    foremost          the    money         laundering           squad Im sure is
     watching               us    very    closely         and      second               we    dont        want    to    look   stupid         in Dans and/or Dees

     eyes            We      want        to   make        sure         they        trust     us    and     our accuracy            at   all   times




          suggest you turn off your MSN                                            especially        when you           are    trying   to    concentrate            too   many
     distractions   and we make mistakes                                           which          cost    the   Company          many SSS$              to   find   and   fix




     php




     From               Curtis

     Sent            December             17 2D09               1027 PM
     To                      Plester

                                                                Dan
                  Phyllis

     Subject                Re     Additional             to




                                                                                                                                         JTMCD4              JESSE_EMAILS          000034




                                                                                             P1 Exhibit            Page        00254
 Hnimm                am     not sure              why          thought         they     were not paid                  checked          them off          the

 statement             and        know             they were            paid from our accounts                        but       did double           cheek them

 against         the    invoices              to    Dan..        They were              all    on the one invoice                  so     must have missed
 that      one invoice                that    they were                invoiced         on     Sorry..




 Curtis




 On Thu           Dec           17 2009             at    823      PM          Phyllis        Plester     p1ester@shawca                       wrote


 Howdy




      am      attaching         the    copies           of invoices      you gave  me to                add    to    our next      invoice    to    Dan
  However             of the           there       is
                                                         only    one    thathas not been                charged                 $1236.93           prior     lam
 attaching        copies          of    all
                                              you        gave     me and         also    our    Invoice       with    backup       showing         these    included

 in    my      totals




  PIase         advise          why you            thought       these     werent         recovered




  php




  Curtis        Fillier

  curtisr2ijustthiiikmedia.coni




     780.416.0228                office

     780.416.0268                fax



  JustThink             Media           Inc

  www.iusfthinkrnedia.com




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Checked          by   AVG          www.avg.com
Version         9.0733            Virus Database                   271.1.12650                 Release        Date      01/27/10         123600




                                                                                                                            JIM         CD4    JESSE             EMAI LS000035




                                                                                P1 Exhibit              Page 00255
Fr-em                           esse        Whims

To                              IQrrLDesauiniers


Subject                         Rn     Upcoming           Googt         Regulation     Change

Date                            Tuesday           October          13   2009   35q0S     PM

Attachments                     iigeCfl3.nng




These          seem        like       they             will        realty       hurt    sates          Im     not sure             if   we    can      do this


Jesse


          On   Tue 10/13/09                                    Tom             Desaulniers                  tom.desaulniers@neverblue.com
wrote



     From Tom               DesaulnTers                            tom.desaulniers@neverblue.com
     Subject       Upcoming Google Regulation Change
  To           Jesse Willmsrr JD.jesse@yahoo.com    rrKevin                                                                  Bazinet
     kevinjustthinkmedia.com                                                     Szymon               Kiedyk1

     simon@justthinkmedia.com
     Cc Steven Easton steven.eastonneverbrue.com
     Date Tuesday  October 13 2009 1051 AM




     Hi    Guys




     In    addition        to     my         email            last       week        about Gooqies                   potentialupcoming  regulation

     change        for     re-bill           offers                please       see     the     email        string     below between  one of my
     affiliates       and Google                        regarding               his    free     trial       offers     of which              two     of them         are Just

     Think offers




     The main             points that                   Google            are     saying        are




                      We         do not allow advertisements                                          for    sites     that    contain              free    trials   that

            lead     to    automatic                    opt-in           to     subscription            services




                      Google               will        require an              UN-chedced               checkbox          next          to       paragraph           that

            discloses           all
                                           pricing            and the           fact    that     it    is      continuous               monthly            service    IN

            ADDiTION                  to          link        to    the        complete         Terms         and Condition                   all   of this near           the

            credit        card        submit




     Obviously             nobody                 is    really          sure     when         this    will    come      in    to        effect       but     there    is




                                                                                                                                    JTMCO4JESSE_EMAILS000036




                                                                                       P1 Exhibit             Page 00256
__                                                                   _...._                                            I..      ..                     .1
                                                                                                                                                            --

                                                                                                                                                                 -I




December                1SL    timeframe being                 thrown     around    in    the   industry       In    the      meantime
we have some

affiliates         that       are      concerned            about running      ou    re-bill    offers    because       they      do    not

want       to      get     slapped




Will     you       be      creatTng         revised         pages in response        to these       needs       If   so when           can

we       expect         them               think       it   would be best to       just    create        secondary           landing

pages        for        affiliates       that     use       Google   as   opposed    to    creating      whole new campaigns




Cheers


Tom




           neverblue

 Tom         Desaulniers
 Business        Development           Manager


  Email tomdesauInlersnCverbIUBcoFfl
 phone              250-385-5323           ext   376
 Toll     Free     1-877-532-3436
  rax 504677-5841



 Suite    2D1       1221      Broad    Street

 Viabria        B.C V8W2A4
 Canada
 v.vN.neverlue.com




           SIOPI    tiP   NOW WWWJVEEBLUEESCAPE.COM




 From Emma                    Kupiak

 Sent       Tuesday             October          13 2009      1001 AM
 To      Torn      Desaulniers




                                                                                                         JTM   004     JESSE           EMAILS_000037




                                                                     P1 Exhibit          Page 00257
Suject          FW                                  Search    and    Content Network            NewU



Here       is   what                   sent      overt




neverbue
 Emma            Kupiak
Affliate       tlanager




 Phone      1-250-385-5323                   ext3S2
Toll     Free     1-877-532-3436



Cell      1-250-216-2612
 rax C604677-5441
IM      neverblucenima




SuiLe    201    --1221         Broad     Sired

VlLoria        ftC V8W 2A4
CBI12d3

v.vw.nevethluecorn




          SIGN UP      tlOWWWW.PVEflULUEESCAPEOOM




From
Sent        Tuesday              October         13 2009      242    ANt

To Emma              Kupiak

Subject            Fwd                                   Search     and       Content   Network    NewUl




F-li    Emma



       think     the       latest          answer        from Googie              here    is   pretty   good    since    it
                                                                                                                               gives    us

Clear description                         of     what    to do      to    create          compliant page          Also       he offered       to

review           the       page            before        we   take       it   online




 For      now rm                 still
                                           running these             free       trial   campaigns       and    there    is    no slap    on
them            but       it    is   just         question        of time




                                                                                                            JTMCD4JESSE_EMAI                  LS_000038




                                                                          P1 Exhibit           Page 00258
After      all     it   would     be great          if   we     could       create             compliant           page      for Acai        Force
and     Acai       Slim




Begin forwarded                  message




From AdWords                           Support

Date             13     October         2009          111715 CEST

To

Subject                  Re                                            Search             and Content                    Network
NewUl


Hello       Myrko


Thank        you        for your email                   have     clarified
                                                                                   your issues              below


      If   you      implement           the    changes            as    you       describe


           clearly       labelled      and     unticked           opt-in          box    that    the      user     must       tick

themselves
      The        fact    that after           trial      period        there      will    be      continuous
subscription              must be communicated                          dearly           and    be   in     the    same       place       as the
opt-in       box
      You cannot            label        trial      as    free         if
                                                                            you    are     going       to    charge          them     for

the     trial     at the end          of that         period       regardless             of whether              someone            opts
into       the    service       or    not     This       applies       to    both the ad and                 landing          page
      Terms and conditions                       or         working          link    to the      same must be made
available           next to the         opt-in           box and        pricing          information


     would        encourage            you to refine your site in the light of what                                           have
discussed               above        and you are welcome to submit this        or any                                        site    to   us
for         policy       review       prior    to     the     creation         of an       Adwords           campaign             for the

same


If   you     have        additional         questions             please      visit AdWords                 Support          at

httpsf/adwpfd4oole.co.uk/support                                             where you will                 find   answers           to     many
frequently              asked    questions               Alternatively             you     can    call      us    on 0845           358
0038        UK          or on    1890943980                 Iretand           and        well    be glad          to   help    you
                                                                                                            JTM        CD4    JESSE          EMAILS   000039




                                                                  P1 Exhibit             Page    00259
For    an introduction                 to    the    New AdWords                Interface               please     visit   our
microsite        at   bttpIwww.goo.comIadwordsInewinterfaceL


Sincerely


Richard

The Google            AdWords                UK    and    Ireland       team



To aŁcess your AdWords                             account        please        log    in    at

https/Ladwords.ooogle.com


Want      to    learn       more about AdWords                          Visit

http//www.google.com/adwords/webinars                                             for       our Webinar             Calendar               Led by
AdWords          experts              these       free   online        seminars        cover             variety     of topics             all


designed         to       help    you        get the most from your Google                               AdWords          account




This    email        and the           information          it   contains        are       confidential           and     may         be
privileged           If
                          you         have    received      this       email     in   error please               notify    me
immediately                You should              not   copy     it   for any        purpose            or     disclose        its


contents        to    any        other       person        Internet          communications                   are   not secure              and
therefore            Google           does    not    accept       legal      responsibility for the                  contents              of

thismessage as    has been transmitted
                                 it       over                                               public       network          If
                                                                                                                                 you
suspect the message may   have been   intercepted                                                 or    amended           please       contact

us


EMEA 050              Google            Ireland      Ltd         Registered           in    Ireland        with     company            number
368047
Gordon         House            Barrow        Street       Dublin            Ireland


Google         advertising             product       information insights                    and        online      marketing              best

practices        www.google.co.uk/adtoolkit




Original        Message               Follows


From
Subject     Re                                           Search        and   Content          Network            NewUl
Date      Mon 12             Oct       2009        204848         0200


Hello     Richard




         thanks           for    your insights             Following           up the        first      question




                                                                                                          JTM       CD4    JESSE           EMAILS   000040




                                                                 P1 Exhibit           Page 00260
On 12 Oct 2009                      at     1340         AdWords             Support         wrote




           Hello




           Thank        you        for your email                      have      addressed         you    issues

           below




                   have           checked         this    site         www.choyung.com                   and
           found        it    to be



           non-compflant                   with      policy        We        do not allow
           advertisements                        for sites


           that


           contain                free     trials       that      lead to automatic                      opt-in
           to subscription


           services




So    to     repeat          it   as       understand             it    correctly       so    we    can    implement
the


correct         changes            to     get       compliant               page    and      ads




     there      cantt        be an automatic                 opt-in         to      subscription           so there

has


to    be        user         initiated       opt-in        box         to     subscription


     the   fact    that           after      trial       period         there    will   be      continuous


subscription                 must       be communicated                     clearly




If   those       two         essential          facts     are     clearly        met    the    offer      would       be


compliant




           or    free             trials   that     you     are        charged        for    at the      end    of

           the




                                                                                                   JTM    CD4        JESSE   EMAILS   00004




                                                           P1 Exhibit            Page 00261
                                                                         .1..-              ..   ....i                VJ      ....   I.   --




        trial    period    As such              this       site   would               not be allowed




This    would      mean     that     you        are        charged         for          trial     only      think      this

Is




clear




The     essential      question       is   if   it    is   possible              to    advertise          free    that



with    AdWords         meeting           the policy               or     not          There         must be          clear




answer      to that      question          as        the policy          seems            to     be intended          to



regulate        this




Thank you          for your      time




                This point      is   moot            based        on point                above          Your
         ads would         be


         disapproved            based      on your site




                Again     not    relevant            given        the non-compliance                      with

          policy




                This    policy       is    now         in effect                  and     applies         to    all

          current       and


          future       ads and        sites           you         have           or are          developing


                                                                                                  JIM     CD4    JESSE_EMAILS_000042




                                                     P1 Exhibit            Page         00262
   Contact           options




Our AdWords                   Specialists       are    available      during    the     work
week to


address        your


questions           by phone                To speak      with   an AdWords
                                     call
Specialist           please


0845


358    0038         UK          or    1890     943    980 Ireland Monday
Thursday             from


a.m     to



  p.m        GMT              or Friday       from        a.m    to      p.m     GMT
You can        also



contact       us


by email            Send us                 message     via    our online       form at


https//adwords.google.com/support/bin/request.py
hlen_US                  Youll



typically       receive               response        within     one business           day




Please       note that               while    we   can discuss        policy     the
above        will    apply


to this


and    related           sites       you     wish to advertise          and     we wont
make


exceptions               to



our policy           on       this    matter




  also note              that    while       most     of your advertising          is   in

English your


business            is   based        in    Germany       If   you    would     prefer       to
deal    with        our



                                                                               JTMCD4             JESSE   EMAJLS   000043




                                             P1 Exhibit        Page 00263
German


customer          service      team from now on              either via       email

or   phone        please



reply


to   this   email       with    your preferred         support      language
English      or    German




If   you    have     additional         questions      please    visit   our Help
Center      at



http//adwords.google.comjsupport/aw/                              where         youll

find    answers         to



many

frequently         asked       questions      We      look   forward     to

providing         you    with



the most


effective        advertising          available




Sincerely




Richard



The Google           AdWords           UK         Ireland    Team




Want more info                 on Ad    Words        Check out the         official


Ad Words Blog


Inside


AdWords             at http//adwords.blogspot.com                     to     get      the
latest
            news

information          and       tips




                                                                      JTM       CD4     JESSE   EMAILS   000044




                                        P1 Exhibit      Page 00264
Original      Message Follows




From

Subject       Search      and        Content      Network            NewUl

Date    Thu      08 Oct             2009   173537 0000



        Dear     AdWords-Support




             recently     was        introduced         to   AdWords          Policy

        Changes         in   an email        from


you

        stating      that      it
                                     may   affect       my AdWords
        account




        We     currently            advertise     the    free       trial   model
        in    most    of the



        products          As




        understand            the     coming      changes             there    has
        to    be the      following          In

        order


to



        comply          these        pages      must     contain        an    opt-tn
        checkbox          that       contains     the


price


        and     billing      interval      of the subscription

        service      on the page             where


user


        enters       their billing         information


                                                                              JTM CD4   JESSE   EMAILS   000045




                                       P1 Exhibit            Page    00265
         While        it   is   good info there                   are      still
                                                                                   very
         important              questions


         would




         like   to     clarify




               Regarding               the opt-in box               on the         billing

         page              it
                                compliant          if




there



         is   the     opt-in           including             text    link     to    the
         Terms and               Conditions             of



         the



         order        with       all    the   necessary             information




         An example                would        be our product-promo

         www.choyung.com                           please           tell




         me

if




         this    is    compliant with               the        new         policy     Or     if


         not what has                    to   change




                Regarding              the ads Can we                      continue       to

         use the words                   free and

trial1



         in    the ads           and      domains            as     long      as    the

         landing           page         follows    the new


policy




                How        should         we prepare              the running

         campaigns                 If    we make alt


                                                                                      JTM CD4     JESSE   EMAILS   000046




                                              P1 Exhibit            Page      00266
                                            landing



                                            pages compliant there should                                                 be no change
                                            to the campaigns  necessary


                                            correct         with           respect              to   quesUon number




                                                   When           do you see the                         policy              being

                                             applied              Is     within               days or


                                             wfthn


                                             weeks



                                             Finally        we       currently                 spend           up to 4000 Euro
                                             daily           would              like     to



                                             personally              talk to             you      on the phone                                  about
                                             the new              policy         changes

                                             When

                                and


                                              on which             number                would           that           be convenient
                                             far    you



                                             Thank          you        very             much




This   electronic          mail   transmission        and   any     accompanying              attachments          conlain           confidential         information              intended      only           the

use    at   he    individual        or   entity    named    above       Any     dissemination           distribution            copying         or   action         taken     in    reliance      on    the

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                                                                                                                                                                            you     have       received       this

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                                                                                                                                                     JTMCD4_JES5EEMALS0OOO47




                                                                                        P1 Exhibit                  Page              00267
      telepliane        at        2503065323




No   virus     found         in    this   incoming   message
Checked            by   AVG          w.avg.com
Version        90.733              Virus    Database   271.1.1/2650    Release   Date   01/27/10   123600




                                                                                            JIM    CD4   JESSE   EMAILS   000048




                                                               P1 Exhibit   Page 00268
